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                      Nos. 24-6256 & 24-6274

                                 IN THE
  United States Court of Appeals for the Ninth Circuit

                        EPIC GAMES, INC.,

                                 Plaintiff-Appellee,

                                    v.

                         GOOGLE LLC, et al.,

                                 Defendants-Appellants.
                       _____________________________

          On Appeal from the United States District Court
              for the Northern District of California
             Nos. 3:20-cv-05671-JD, 3:21-md-02981-JD
                        Hon. James Donato
                       _____________________________

EPIC GAMES, INC.’S OPPOSITION TO GOOGLE’S MOTION FOR
  PARTIAL STAY OF PERMANENT INJUNCTION PENDING
                       APPEAL
                       _____________________________

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            CORPORATE DISCLOSURE STATEMENT

           Pursuant to Federal Rule of Appellate Procedure 26.1, Epic

Games, Inc. (“Epic”) states that it has no parent corporation and that

Tencent Holdings Limited owns more than 10% of Epic stock.




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                            INTRODUCTION

            This case arises from Google’s anticompetitive behavior with

respect to (1) the distribution of apps and (2) in-app payments on

Android smartphones. Google was found liable on every one of Epic’s

claims. The Court imposed an injunction tailored to address Google’s

anticompetitive conduct. (Exhibit C, Permanent Injunction, Dkt. 1017

(“Ex. C.”).)1

            This Court should deny a stay of the injunction. Google’s

motion raises numerous underdeveloped challenges—ten in all. Google

challenges Epic’s claims, the use of a jury, the liability finding, and the

provisions of the injunction. The District Court fully considered and

correctly rejected each of these arguments. Most are subject to abuse of

discretion review, a standard Google does not even acknowledge, let

alone satisfy.

            Google’s arguments about the public interest and irreparable

injury collapse into its failed scattershot substantive challenges. The

injunction carefully tracks the jury’s determination that Google violated




   1 Unless otherwise specified, “Dkt.” refers to the multidistrict

litigation docket, No. 3:21-md-02981-JD (N.D. Cal.).

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the antitrust and unfair competition laws. Indeed, injunctive relief is in

the public interest by definition because it will put an end to Google’s

active anticompetitive conduct.

                             BACKGROUND

           In 2020, Epic separately sued Google and Apple. Broadly

speaking, both lawsuits assert claims arising from the suppression of

competition in app stores and in-app payments on mobile devices. But

the lawsuits differ significantly, including in the definition of the

relevant antitrust markets and the alleged anti-competitive conduct.

Because Apple is the only seller of devices running its proprietary

operating system (iOS) Epic asserted single-brand “aftermarkets” for

app distribution and in-app payments for iOS. See Epic Games, Inc. v.

Apple, Inc., 67 F.4th 946 (9th Cir. 2023); see infra Section II.A.

           Epic’s complaint against Google is quite different. Google

makes a mobile operating system (Android) that is available on devices

made by numerous manufacturers. Thus, against Google, Epic never

argued for single brand “aftermarkets”; instead, it alleged regular

markets for Android app distribution and Android in-app payments on




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devices made by a multitude of firms. (See Dkt. 378 at 8.) Epic sought

only injunctive relief.

            Pretrial proceedings lasted over three years. During that

time, the District Court found that Google had engaged in exceptional,

sanctionable misconduct in litigating the case. First, the Court found

“that Google failed to preserve relevant evidence from [its internal]

Chat message system, and that the failure to preserve was intentional

and prejudicial to plaintiffs.” (Dkt. 700 at 3; see also, e.g., Dkt. 849,

Trial Tr. 3228:19-23 (“All of this presents the most serious and

disturbing evidence that I have ever seen in my decade on the bench

with respect to a party intentionally suppressing relevant evidence in

litigation. I have just never seen anything this egregious.”).) Second, the

Court found that Google had engaged in a “frankly astonishing abuse of

the attorney-client privilege designation to suppress discovery.”

(Exhibit B, Order re Google’s Renewed Motion for Judgment as a

Matter of Law or New Trial, Dkt. 984 (“Ex. B”), at 24.)

            On October 11, 2021, at its first opportunity to do so, Google

demanded a jury trial not only on Epic’s antitrust claims but also its




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own counterclaim against Epic. (Dkt. 111 at 26.) 2 In November 2023,

just two days before trial was set to begin, Google attempted to

withdraw its consent to a jury trial. (Dkt. 732 at 2.) The Court denied

the last-minute request as unduly prejudicial to both Epic and the

Court, in light of the extensive pre-trial proceedings that had already

occurred. See infra Section I.A.

           The jury heard extensive factual and expert testimony on

the definition of the relevant markets and the nature of Google’s anti-

competitive conduct. (See Dkt. 932 at 8-19.) The jury also received

competing evidence on Google’s asserted procompetitive justifications

for attempting to exclude competing app stores and in-app payment

systems, including Google’s assertion that doing so was necessary to

preserve consumers’ privacy and security. (See id. at 22-25.) The jury

unanimously found for Epic on every claim. (See Dkt. 866.) The District

Court subsequently found for Epic on its state law unfair competition

claim. (See Exhibit A, Dkt. 1016, Order re UCL Claim and Injunctive

Relief (“Ex. A”), at 2-4.) Google filed an expansive motion for judgment


  2 Google reiterated its demand for a jury trial several times over the

course of the pretrial proceedings. (See Dkt. 181 at 3; Dkt. 386 at 27; Dkt.
505 at 3; Dkt. 627 at 3).

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notwithstanding the verdict, invoking a laundry list of supposed errors

in essentially every aspect of the case. (Dkt. 925.) The District Court

denied the motion in a detailed order. (Ex. B.)

           Over the course of the next eight months, the District Court

conducted rigorous proceedings to determine an appropriate injunction

to remedy Google’s extensive anti-competitive conduct. It gave “each

side . . . a virtually unlimited opportunity to present its views about the

scope and content of the injunction.” (Dkt. No. 1000 at 95:18-155:1.)

           The Court’s first premise in formulating an injunction was

that “caution is key.” (Ex. A at 8 (quoting Nat’l Collegiate Athletic Ass’n

v. Alston, 594 U.S. 69, 106 (2021)).) In important respects, the Court

“decline[d] to impose several of the injunction terms urged by Epic.” (Id.

at 7.) It rejected those that it concluded “demand excessive judicial

oversight.” (Id.) It adopted special provisions to address in advance any

“potential security and technical risks,” leaving Google “room to engage

in its normal security and safety processes.” (Id. at 12.) Further,

although the jury found a virtually worldwide market, the Court limited

the injunction to the United States. (Ex. C ¶ 3.) The Court also limited




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the injunction’s effective period to three years—less than half the period

sought by Epic. (Id. ¶¶ 4-12.)

           The District Court delayed when the injunction would take

effect through two effective dates:

           1.    The Court determined that provisions require no

                 meaningful technical changes, would become effective

                 on November 1. (See Ex. C ¶¶ 4-10.) Specifically,

                 Paragraphs 4 to 7 forbid Google from entering into or

                 enforcing certain anticompetitive agreements. (These

                 provisions are similar to Paragraph 8, which Google is

                 not seeking to stay.) The remainder—Paragraphs 9

                 and 10—enjoin Google from preventing developers

                 from engaging in certain procompetitive acts.

           2.    The second deadline is not until eight months after the

                 District Court entered the injunction. That deadline

                 applies to provisions that—based on the extensive

                 factual and expert submissions from the parties—

                 would require meaningful technical preparation.

                 Expert testimony established that these changes could



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                 be designed, tested, implemented, and rolled out in less

                 time. (Dkt. 1000, Aug. 14 Hrg. Tr. 9:13-25).)

           In both the District Court and this Court, Google moved for a

stay of the injunction pending appeal and an administrative stay while

that motion was pending. The District Court denied the stay motion,

reasoning that “the verdict in this case was amply supported by a

mountain of evidence about Google’s anticompetitive conduct in the

relevant product markets,” and required only “a very straightforward

application of well-established antitrust principles.” (Dkt. 1034, Oct. 18

Hrg. Tr. 5:12-17.) As a consequence, the public interest strongly favored

implementing the injunction. (Id. 6:10-12.) The District Court granted

an administrative stay to allow this Court time to decide Google’s stay

motion. (Id. 7:6-23.)

           The District Court also reiterated that Google has litigated

the case in a manner intended to delay accountability for its unlawful

conduct. “Google has fired a barrage of objections and allegations of

error in an effort to escape the judgment of the jury. This approach has

been Google’s modus operandi throughout the case, and often results in

headline-style arguments that lack useful development.” (Ex. B at 4; see



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also Ex. A at 2 (“[I]t bears mention that Google has, on several

occasions, filed a blunderbuss of comments and complaints that are

underdeveloped and consequently unhelpful in deciding the issues.”).)

                               ARGUMENT

     I.     Google Is Not Likely to Succeed in Its Challenges to the
            District Court’s Exercise of Its Discretion.

            Google fails to recognize–or even mention–the stringent

standard of review that applies to its challenges to the District Court’s

exercise of discretion in managing the trial and crafting the injunction.

With respect to most of its arguments, Google must establish that the

District Court exercised its discretion “to an end not justified by the

evidence” or reached “a judgment that is clearly against the logic and

effect of the facts as are found.” Rabkin v. Or. Health Scis. Univ., 350

F.3d 967, 977 (9th Cir. 2003). Google does not even attempt to meet that

standard.

            A.    Google Is Not Likely to Prevail on Its Argument
                  that the District Court Abused Its Discretion in
                  Refusing to Permit Google to Withdraw Its
                  Consent to a Jury Trial.

            Google repeatedly and explicitly consented to a jury trial on

Epic’s claims for injunctive relief. (See Ex. B at 27.) On the eve of trial,




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it sought to withdraw that consent. 3 That request came one day before

jury selection and two court days before trial was set to commence,

which was “far too late.” (Id.) The District Court found that Google’s

attempt to do away with the jury “would have caused immense

prejudice to Epic,” which spent years preparing for a jury trial, “without

objection by Google and with its active participation in the filing and

discussion of jury instructions, proposed voir dire, and motions in

limine.” (Id. at 27-28.) The Court also found that such a last-minute

maneuver would prejudice the Court itself: “Google’s request is also

fundamentally inconsistent with its representations to and conduct

before the Court with respect to a jury trial, and would undermine the

considerable case management work the Court undertook in

anticipation of a jury trial.” (Dkt. 732 at 2.) The cases cited by Google

allowing withdrawal of consent for a jury when it worked no prejudice

on the other party are therefore inapposite. See FN Herstal SA v. Clyde




  3 Even then, Google still maintained its request for a jury trial on its

breach of contract counterclaims, which Epic defended on the basis that
the contract was unlawful—requiring adjudication by the jury of Epic’s
affirmative claims. (Dkt. 573 at 5-9.)

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Armory Inc., 838 F.3d 1071, 1089-90 (11th Cir. 2016); see also Kramer v.

Banc of Am. Sec., LLC, 355 F.3d 961, 968 (7th Cir. 2004).

              Google suggests that its consent was dependent on the

premise that the jury would be deciding other plaintiffs’ damages

claims, which subsequently settled. (Mot. at 12-13.) But Google never

made its consent contingent on the pendency of those other claims. The

District Court was well within its discretion finding that Google

consented to a jury trial—and rejecting Google’s last-minute attempt to

withdraw that consent.

              B.   Google Is Not Likely to Prevail on Its Argument
                   that the District Court Abused Its Discretion in
                   Instructing the Jury on the Relevance of
                   Google’s Asserted Procompetitive Justifications.

              Google next argues that the District Court incorrectly

precluded it from arguing to the jury that its conduct was lawful in light

of its stated procompetitive justifications in other markets. (Mot. at 14.)

The District Court’s formulation of jury instructions is subject to abuse

of discretion review. United States v. Shryock, 342 F.3d 948, 985 (9th

Cir. 2003).

              Contrary to Google’s argument, the instructions allowed the

jury to consider procompetitive justifications in other markets. For


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example, in describing the Section 1 rule of reason analysis, the Court

instructed the jury to consider “whether Google has proven that the

restraints produced countervailing competitive benefits,” without

reference to any particular market. (Dkt. 867, Trial Tr. 3332:22-3333:1.)

And in the portion of the instructions explaining Step 2 of the rule of

reason, the Court instructed the jury to “determine whether Google has

proven that the restraint also benefits competition in other ways,”

without limitation. (Id. 3336:8-12 (emphasis added).) The District

Court’s decision not to be even more explicit was well within its broad

discretion in crafting the complete body of jury instructions. Even

assuming Google’s statement of the law on procompetitive justifications

is correct, Google was free to (and did) argue to the jury that supposedly

procompetitive benefits in other markets should be considered.4




  4 Contrary to Google’s assertion (Mot. at 14), this Court has not

decided whether anticompetitive conduct can be justified by
procompetitive benefits in another market. See Epic Games, Inc. v.
Apple, Inc., 67 F.4th 946, 989 (9th Cir. 2023); see also U.S. Amicus
Brief, Ninth Cir. Dkt. 27.1 at 15 n.2 (“As far as we are aware, no
reviewing court has previously held that a jury must be instructed that
it can consider benefits to competition outside the relevant market, as
Google’s proffered instruction stated.”).

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            C.    Google Is Not Likely to Prevail on Its Argument
                  that the District Court Abused Its Discretion in
                  Crafting the Injunction.

            Google challenges the injunction in five separate respects.

The Court’s design of the injunction was subject to its well-informed

discretion. See Melendres v. Maricopa Cnty., 897 F.3d 1217, 1221

(9th Cir. 2018) (“[A] district court has broad discretion to fashion

injunctive relief.”).

                  1.    Google Must Direct Its Supposed Questions
                        Regarding Details of the Injunction’s
                        Implementation to the District Court in the
                        First Instance.

            Google asserts that it remains unclear how the injunction

applies in a few particular respects. (See Mot. at 15 (identifying four

questions).) But that is commonplace in complex commercial cases.

Injunctions are subject to an abuse of discretion standard and may be

overturned on vagueness grounds only if they “are so vague that they

have no reasonably specific meaning.” In re Nat’l Collegiate Athletic

Assoc. Grant In-Aid Cap Antitrust Litig., 958 F.3d 1239, 1263 (9th Cir.

2020). The injunction here clearly sets out what conduct Google is

prohibited from engaging in (Ex. C ¶¶ 3-10, 12), what conduct it is




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required to undertake (id. ¶¶ 11-13), how long these obligations apply

(id. ¶ 2), and the injunction’s geographic scope (id. ¶ 3).

           “To the extent [Google] believes meaningful ambiguity exists

about the scope of its authority, it may seek clarification from the

district court.” Alston, 594 U.S. at 72. The District Court did not violate

Rule 65(d) by “declin[ing] to provide [Google] with explicit instructions

on the appropriate means to accomplish” every minute aspect of the

injunction. Fortyune v. Am. Multi-Cinema, Inc., 364 F.3d 1075, 1087

(9th Cir. 2004).

                   2.   The District Court Acted Within Its
                        Discretion in Creating a Technical
                        Committee.

           The District Court directed the parties to establish a three-

person committee—one appointed by each party, and the third

appointed jointly—to consider in the first instance questions that arise

regarding the injunction’s implementation. (See Ex. C ¶ 13.) Anyone

dissatisfied with the committee’s view can present the issue to the

District Court for resolution, as part of the ordinary process of clarifying

an injunction’s terms. See id.; supra Section I.C.1.




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            Google acknowledges that the injunction’s implementation

may raise a variety of technical questions. The District Court directed

that those questions be considered in the first instance by technical

experts. Hopefully, the committee can resolve some questions to the

parties’ satisfaction. If not, the District Court will decide. This

procedure—which is functionally indistinguishable from the

commonplace use of private special masters and mediators—is not an

abuse of discretion. 5

                  3.     There Is No Legal Prohibition Against
                         Remedies Requiring Antitrust Violators to
                         “Deal with Their Rivals.”

            Google next challenges provisions of the injunction that

require it in certain circumstances (1) to cooperate technically with the

providers of competing app stores, and (2) make those competing stores

available to consumers on Google Play. (Mot. at 16-19.) Google argues

that firms generally have no duty to deal with their rivals as a matter of




   5 See, e.g., FTC v. Enforma Natural Prods., Inc., 362 F.3d 1204, 1213

(9th Cir. 2004) (“When outside technical expertise can be helpful to a
district court, the court may appoint a technical advisor.”).



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antitrust liability, but immediately concedes that it was not held liable

on that basis. (Id.)

            The limitations on finding a duty to deal as a basis for

liability do not preclude the Court from requiring Google to deal with its

competitors as a remedy for other anticompetitive conduct so as “to

avoid a recurrence of the [antitrust] violation and to eliminate its

consequences.” See Optronic Techs., Inc. v. Ningbo Sunny Elec. Co.,

Ltd., 20 F.4th 466, 486 (9th Cir. 2021) (affirming injunctive relief

requiring defendant to “supply [the plaintiff] on non-discriminatory

terms” even though the plaintiff’s “refusal-to-deal claim . . . was

dismissed on summary judgment.”). That is because when a “jury finds

that monopolization or attempted monopolization has occurred,” as the

jury did here, “the available injunctive relief is broad, including to

‘terminate the illegal monopoly, deny to the defendant the fruits of its

statutory violation, and ensure that there remain no practices likely to

result in monopolization in the future.’” Id. (citation omitted).

            Ignoring that precedent, Google argues that the Supreme

Court held in Alston that “[s]imilar considerations” apply at the liability

and remedial phases. (Mot. at 17 (quoting Alston, 594 U.S. at 102 ).)



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That is incorrect. That language from Alston does not address the

liability rule that firms generally need not cooperate with their rivals.

Instead, it discusses only the need for courts to avoid micromanaging

businesses, usurping their “business judgments.” Alston, 594 U.S. at

102; see also U.S. Amicus Brief, Ninth Cir. Dkt. 27.1 at 6 (“[C]ourts

often impose affirmative duties to deal as remedies for antitrust

violations.”).)

            There is also no merit to Google’s proposed rule of strict

causation: that every antitrust remedy must track and negate specific

anticompetitive conduct. (Mot. at 17-19.) The applicable legal rule is

instead that the district court has broad discretion in crafting injunctive

provisions that remedy the ongoing effects of anticompetitive conduct.

Optronic Techs., Inc., 20 F.4th at 487.

                  4.   The Injunction Does Not Violate a Supposed
                       Prohibition Against Remedial Provisions
                       That “Stall Competition.”

            Google asserts that the District Court “acknowledged that

[the injunction’s remedial] requirements will stifle competition while in

effect by disincentivizing other stores from investing in building their

own relationships with developers and app store infrastructure.” (Id.)



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That is a serious misrepresentation. The argument Google cites was

made by Google’s own expert and rejected by the Court, who stated that

even if it accepted the proposition that there would be “technically

reduced competition” for a short period, the remedy ultimately has “got

to be a huge spur to competition.” (Dkt. 977, May 23 Hrg. Tr. 51:14-15;

51:19) (emphasis added).)

              The notion that the Court adopted a remedy that it found

would undermine competition is absurd. In fact, the Court concluded

unambiguously that the remedies were required to make competition

possible. Without them, other firms could have nominally opened their

own app stores, but those stores would be unable to compete because

they lacked access to users and a comparable catalog of available apps.

(See e.g., Ex. A at 10; Dkt. 915-1 at 122-23; Dkt. 839, Trial Tr.

1212:4-11.)

                   5.    There Is No Legal Prohibition Against
                         Preventing An Antitrust Violator From
                         Using a Court Imposed Remedy to Price
                         Gouge.

              There is no merit to Google’s assertion that the injunction

engages in prohibited “direct price regulation.” (Mot. at 19.) The

injunction says nothing, for example, about the prices that Google may


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charge for app distribution or in-app payments. Rather, Google’s

argument refers to the injunction provision that allows it to charge a

“reasonable fee” for a security and privacy review of the third-party

stores that it is required to distribute through Google Play. (Ex. C

¶ 12.) Allowing Google to implement a security and privacy review

process is an accommodation to Google. And permitting Google to

charge a reasonable fee for that security review is a further

accommodation. While giving Google the ability to recoup its costs, the

District Court recognized that Google could continue its anticompetitive

conduct—and thereby circumvent the injunction—if Google made this

“review” unreasonably expensive. (See U.S. Amicus Brief, Ninth Cir.

Dkt. 27.1, at 12 (“courts can craft remedies that require defendants to

charge reasonable fees where such a requirement helps restore

competition”).) The provision does not regulate the price that Google

charges for “products and services” in the marketplace. (Mot. at 19.)

     II.   Google Is Not Likely to Succeed in Its Remaining
           Arguments.

           Google’s arguments that do not relate to discretionary

decisions by the District Court are also meritless.




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           A.    Google Is Not Likely to Prevail on the Ground
                 that Epic Was Required to Prove Aftermarkets.

           Epic successfully argued to the jury that Google violated the

antitrust laws with respect to markets for app distribution and in-app

payments for Android smartphones. (Dkt. 866 at 3-4.) Google argues

that these markets are not viable under this Court’s decision in Epic v.

Apple. (Mot. at 11-12.) Not so. In that case, Epic argued that Apple

violated the antitrust laws in single-brand “aftermarkets” for app

distribution and in-app payments for Apple smartphones. An

aftermarket exists where “demand for a good is entirely dependent on

the prior purchase of a durable good in a foremarket,” Epic v. Apple,

67 F.4th at 976—there, the foremarket was Apple smartphones. This

Court held that to establish the existence of such an aftermarket, the

plaintiff must “prove that the markets for apps and in-app purchases

are truly independent of the markets for smartphones and other

devices.” (Mot. at 12.)

           As the District Court explained, unlike in Epic v. Apple,

where participation in the relevant markets depended on the purchase

of an iPhone from Apple, neither consumers nor developers are required

to buy anything from Google to participate in the Android app


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distribution market or Android in-app payment solutions market.

“Android devices are manufactured by many companies, including

Google, Samsung, Motorola, OnePlus, Xiaomi, and other OEMs.”

(Dkt. 984 at 8.) Epic v. Apple’s aftermarket analysis is therefore

inapposite. Epic’s claims are instead subject to the ordinary standards

governing market definition. See, e.g., Ohio v. Am. Express Co., 585 U.S.

529, 542-544 (2018).

           B.      Google Is Not Likely to Prevail on the Ground
                   that Epic’s Claims Are Barred By Issue
                   Preclusion.

           Google asserts that the jury’s verdict was barred by issue

preclusion, which applies if the issue was (i) “identical” across both

proceedings, and (ii) “actually litigated.” Levi Strauss & Co. v. Blue Bell,

Inc., 778 F.2d 1352, 1357 (9th Cir. 1985) (en banc). In this case, as just

noted, Epic successfully argued before the jury that there are markets

for app distribution and in-app payments for Android smartphones.

(Dkt. 866 at 3.)

           Google asserts that Epic was precluded from litigating this

“issue” because Epic thereby “reargue[d] the prior judicial finding that

Google and Apple compete within the markets asserted here.” (Mot.



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at 11.) Google’s argument misunderstands the relevant “markets.” Epic

v. Apple did not consider whether there are markets for app distribution

and in-app payments for Android smartphones, and the court there

made no finding on whether Apple competes in those markets. Only the

jury here made a finding on that question.

           Google nonetheless points to two “issues” that were decided

adversely to Epic in that earlier case: (1) that Epic failed to prove that

there are aftermarkets for app distribution and in-app payments for

Apple smartphones (see Mot. at 11-12); and (2) that there is a market in

which Google and Apple compete for the distribution of mobile gaming

transactions (see id. at 10-11).

           Google’s position depends entirely on misstating the relevant

“markets” in both this case and Epic v. Apple. Google maintains that

both cases involve a supposed generalized “market” for “digital

transactions,” which it says Epic v. Apple addressed in the particular

context of gaming transactions. (See Mot. at 11.) Beyond this, Google

says nothing about this supposed market, which it apparently

maintains exists with respect to any type of digital transaction on any

kind of device.



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           Google’s argument is a red herring. Even if Epic v. Apple had

found competition in a generalized market for “digital transactions,”

that would not preclude a finding that there were also separate markets

relating specifically to app distribution and in-app purchases for

Android apps in which Google holds monopoly power. In antitrust law,

there frequently are overlapping markets. (See, e.g., Brown Shoe Co. v.

United States, 370 U.S. 294, 325 (1962) (“[W]ithin [a] broad market,

well-defined submarkets may exist which, in themselves, constitute

product markets for antitrust purposes.”); Dep’t of Justice & Fed. Trade

Comm’n, Merger Guidelines § 4.3 n.77 (2023) (“Multiple overlapping

markets can be appropriately defined relevant markets.”); see also U.S.

Amicus Brief, Ninth Cir. Dkt. 27.1 at 15 (“[E]ven though a broader

market in which both Apple and Google app stores competed was

relevant in Epic v. Apple, there is nothing contradictory about limiting

the relevant market in Epic v. Google, a case involving different

challenged conduct, to the distribution of apps sold on Android

[smart]phones.”)

           In any event, the straightforward answer to Google’s

argument is that Epic v. Apple did not find that such a generalized



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market exists. Both the District Court ruling and this Court’s decision

affirming it were limited to the particular gaming-specific market. See

Epic Games, Inc. v. Apple, Inc., 67 F.4th at 973 (“[T]he district court . . .

defined the relevant market for its antitrust claims to be mobile-game

transactions . . . and did not clearly err [in so doing]”); Epic Games, Inc.

v. Apple Inc., 559 F. Supp. 3d 898, 1019 (N.D. Cal. 2021) (“[T]he

appropriate submarket to consider is the mobile gaming transactions

market.”). Such a gaming-specific market was never at issue in this

case, and neither party ever suggested it as a relevant market in which

to assess Google’s conduct.

           C.    Google Is Not Likely to Prevail on Its Challenges
                 to Epic’s Standing.

           There is no merit to Google’s arguments that the injunction

violates the Article III principle that for a party to have standing, its

injuries must be redressable. (Mot. at 19-21.) Google first asserts that

the District Court merely “assume[d] that developers, OEMs, and

mobile carriers will react to the District Court’s injunction in a way that

redresses Epic’s injury.” (Id. at 20.) In fact, at evidentiary hearings in

the remedies phase, the Court explained that the injunction must

remedy the “network effects” resulting from Google’s unlawful

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monopolization of Android app distribution. (See Dkt. 1000, Aug. 14

Hrg. Tr. 122:16-23 (“Google monopolized the app [distribution] market.

The effect of that is developers will only go to a market where they can

sell their goods and users will only go to a market where there are tons

of developers . . . [t]hat is the monopoly construct that Google has

implemented through its anticompetitive conduct. The only way to

[remedy] that is to open that construct.”).) The catalog access and app

store distribution remedies were intended to address Google’s conduct

that “unfairly enhanced its network effects in a way that would not

have happened but for its anticompetitive conduct.” (Ex. A at 11.)

Accordingly, the Court amply explained the factual predicates that

underlie the causal connection between the jury’s verdict and Court’s

remedy. Google’s assertion that this connection is unsupported because

the record contains no evidence that Google’s “network effects” are

attributable to conduct that Epic challenged (Mot. at 18) ignores days of

testimony and countless trial exhibits on that very point. (See, e.g.,

Dkt. 932 at 11-20.)

           Google similarly errs in claiming that Epic failed to prove

ongoing injury, given that Google removed Epic’s apps from Google



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Play. (Mot. at 20-21.) Google fails to acknowledge that this Court

rejected an indistinguishable argument in Epic v. Apple. There, Apple

argued that Epic was no longer injured by Apple’s anti-steering policy

because Apple had removed Epic’s apps from its Store and had no

intent to reinstate them. Epic v. Apple, 67 F.4th at 999-1000. This

Court reasoned that because Epic is a competing game distributor

through the Epic Games Store (“EGS”), which offers a lower commission

than Apple’s, Apple’s anti-steering provision harmed Epic by preventing

consumers from learning about lower prices on EGS. Id. This practice

decreased the revenue EGS generated. Id.

           That reasoning applies more strongly here, where Epic has

launched EGS for Android. Epic competes in the Android app

distribution market through EGS and in the Android in-app payment

solution market through Epic Direct Pay (“EDP”). Epic is therefore

harmed by Google’s anti-steering policy, which prevents consumers

from learning about lower prices on EGS. Epic is also harmed by

Google’s prohibition on alternative in-app payment solutions, which

prevents developers from choosing to use EDP instead of Google Play

Billing in apps distributed on Google Play. These harms are both direct



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and imminent because EGS, an Android app store, is a direct

competitor to Google Play and, contrary to Google’s claim otherwise,

evidence in the record supports that Epic has and intends to offer EDP

as a billing option for apps distributed through Google Play. (See

Dkt. 835, Trial Tr. 227:9-24 (explaining that Epic offers third-party

developers the ability to use EDP); see also Dkt. 843, Trial Tr.

2029:15-2030:1 (explaining that Google’s policies make it so “[Epic]

[has] no way to reach Android customers with Epic Direct Pay for

digital goods”).)

      III. There Is No Merit to Google’s Arguments Regarding
           the Equities.

            Google’s equitable arguments fare no better than its

substantive challenges to the findings of liability and the injunction.

            A.      Google’s Arguments Seek to Overturn the
                    Verdict.

            Accepting Google’s position would impermissibly require this

Court to override the jury’s verdict. At the very least, it depends on

Google showing—which it has not, see supra Section I—that this Court

is likely to overturn the verdict. The antitrust laws exist to protect

competition, and thus the public interest. FTC v. Actavis, Inc., 570 U.S.

136, 161 (2013). The jury’s determination that Google violated the

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Sherman Act—by Google’s own count affecting hundreds of millions of

people—means that permitting Google to continue its conduct will cause

significant public harm. The injunctive relief provided by the Sherman

Act is the equitable means by which competition is restored. Given the

verdict, a stay of the injunction is by definition contrary to the public

interest. As the District Court explained, the “same reasons” the jury

found liability show that “staying the injunction through appeal would

not serve the public interest.” (Dkt. 1034, Oct. 18 Hrg. Tr. 6:10-12.) It

continued: “A much better argument can be made that the public

interest is served by opening those markets up today to competition, as

our antitrust laws envision, certainly not continuing what the jury

found to be monopolistic conduct in those relevant markets.” (Id.

6:13-17.) And the Court expressly found that “the public interest, which

is perfectly aligned with the restoration of free and unfettered

competition, would be well served” by the injunction. (Ex. A at 7.)

Google’s contrary argument reduces to the position that it is inequitable

to require it to comply with antitrust law.

           Relatedly, Google’s principal equitable arguments depend on

factual claims—indeed, specific evidence—that the jury considered and



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rejected. The jury considered whether competing app stores and

payment solutions would “raise significant security risks.” (Mot. at 21.)

Indeed, Google invoked security and privacy as its principal

procompetitive justification for its conduct—and the jury rejected it.

(See, e.g., Dkt. 841, Trial Tr. 1746:10-1747:5; 1751:19-1760:12;

1762:20-24.) Google’s motion ignores Epic’s extensive evidence—which

the jury credited—that these justifications were pretext for its

anticompetitive conduct and did not outweigh the anticompetitive

harm. Google now relies on the exact testimony from its employees that

the jury rejected. (E.g., Mot. at 21) (citing “the head of Android security

and privacy engineering.”).)

           B.    Google Fails to Demonstrate Any Abuse of
                 Discretion in the District Court’s Crafting of the
                 Injunction.

           Google asserts that the injunction’s “timeline leaves virtually

no time to mitigate these risks” (Mot. at 22), and that an “unworkable”

deadline constitutes irreparable injury (id. at 25.). This is merely a

repackaging of Google’s complaints about the terms of the injunction,

which as discussed, are subject to abuse of discretion review. See supra

Section I.C. The District Court carefully considered this question,



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including through in-person expert testimony. Google provides no

reason for this Court to overturn the District Court’s determinations

based on the self-interested testimony of its own employees. Google’s

expert asserted that twelve months was required, while Epic’s expert

concluded that the effort could be done more simply and efficiently in

under eight months. (See Dkt. 1000, Aug. 14 Hrg. Tr. 9:16-10:4;

149:4-7.) The District Court reasonably concluded that eight months

was appropriate. (See Ex. C ¶ 11.)

           C.    Google’s Remaining Equitable Arguments Lack
                 Merit.

           Google argues (Mot. at 23) that this case is governed by FTC

v. Qualcomm, Inc., 935 F.3d 752 (2019), in which the Court granted a

stay of an injunction that required “fundamental business changes.” Id.

at 32. But the facts of Qualcomm were radically different: that

injunction required the defendant to change its entire business model of

licensing its intellectual property, entering into new (and completely

different) long term agreements that could not be undone if Qualcomm

prevailed on the merits. See id. at 756. Here, the injunction allows

Google to maintain Google Play and its in-app billing solution; its

business model remains fundamentally the same. It merely requires


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Google for a limited period of time to eliminate contractual

arrangements that unreasonably limit competition, and to take certain

remedial measures to ameliorate the ongoing effects of its anti-

competitive acts. In the unlikely event this Court were to overturn the

jury verdict, those contracts could and would be changed back.

           Google next argues that the monetary cost of complying with

the injunction’s technical remedial provisions constitutes irreparable

injury. (Mot. at 24.) That is wrong as a matter of law: “[m]ere injuries

however substantial, in terms of money, time and energy necessarily

expended . . . are not enough.” Al Otro Lado v. Wolf, 952 F.3d 999, 1008

(9th Cir. 2020). Moreover, as an equitable matter, Google’s argument is

unpersuasive. The District Court found that these costs are “a drop in

the bucket” compared to Google’s ongoing profits from its unlawful

conduct. (Dkt. 1000, Aug. 14 Hrg. Tr. 20:4.)

           Google suffers no harm from the injunction’s “catalog access”

provision. (Contra Mot. at 22.) Under that remedy, third-party stores

will merely act as another place where users might discover the apps

that are on Google Play. Such apps will continue to be downloaded

through Google Play, and Google will earn the same commission from



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those apps that it would earn if the apps had been discovered on Google

Play itself. If Google prevails on its appeal, those other stores would no

longer have access to Google Play’s catalog, but apps that have already

been discovered and downloaded by users would remain on the users’

devices, to the sole benefit of Google.

           Google next argues that no injunction should be required

because the States reached a proposed settlement of their parallel

antitrust claims against Google. (Mot. at 27-28.) Of course, parties

settle claims to avoid the risk of trial. It would have been shocking if

Epic had not achieved more when it succeeded in litigating its claims.

There is no merit to Google’s assertion that the District Court was

required to make an express finding that the compromise embodied in

the States’ proposed settlement—which has not even been approved

yet—would not remedy its anti-competitive conduct. The District Court,

with full knowledge of the terms of the States’ settlement, found that

the terms of the injunction were the appropriate response to the

antitrust violations found by the jury, as well as the unfair competition

law violation found by the court.




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           Google’s assertion that, if the injunction fails to protect the

public interest, Google will suffer irreparable reputational harm (Mot.

at 21) simply repackages the same objections to the injunction and fails

for the same reasons. The injunction allows Google to review apps for

privacy and security concerns. The premise of the antitrust laws is that

competition improves quality—here, that competition between app

stores will produce greater privacy and security protections, not less.

Further, Google assumes that when a user downloads an app

containing “harmful” content from a third-party app store that was

itself downloaded from Google Play, the user will blame Google Play,

rather than the third-party store. (See id. at 23.) Google offers no

evidence to support this view. Real-world evidence suggests the

opposite. Users can currently access arguably “harmful” content on

many apps available on Google Play—from Reddit to Instagram to

BitTorrent—but Google has offered no evidence that it is blamed for any

such content. The content of apps obtained from third-party stores

(rather than directly from Google Play) is even further removed from

Google, and thus less likely to cause the harm to goodwill or the

switching that Google predicts. If anything, if apps from a third-party



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store turn out to be bad, users may well switch back to Google Play for

their future app downloads.

                              CONCLUSION

           There are more than enough reasons to deny Google’s stay

application. The public interest strongly supports doing so promptly.

But if the Court is nonetheless inclined to grant a stay protectively,

Epic respectfully suggests the following alternative. The Court can

defer ruling on the stay application until after briefing and oral

argument, leaving the district court’s administrative stay in place in the

interim. If the Court believes a stay pending appeal is appropriate then,

it can grant one. But Epic is concerned that if the Court instead grants

a “stay pending appeal” now and later recognizes that Epic is going to

prevail, the stay could nonetheless inappropriately remain in place for

years during the remainder of the appeals process. The Court

accordingly should deny a stay pending appeal, or alternatively defer

ruling on Google’s motion until after argument.




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October 28, 2024                    Respectfully submitted,

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           I certify that this brief complies with the type-volume

limitation of Circuit Court Rule 27-1(1)(d) and Circuit Rule 32-3 because

it contains 6,270 words, excluding the parts of the brief exempted by Fed.

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October 28, 2024                      /s/ Thomas Goldstein
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                    CERTIFICATE OF SERVICE

           I hereby certify that I electronically filed the foregoing with

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